
ORDER
Considering the foregoing Joint Petition for Interim Suspension:
IT IS ORDERED that respondent, Jerry F. Palmer, attorney at law, be and hereby is, placed on interim suspension from the practice of law, said suspension to be effective immediately, and remaining in effect until further orders of this court.
IT IS FURTHER ORDERED that from the date of the filing of the petition until the effective date of interim suspension, respondent shall not undertake the representation of new clients and shall fully comply with Rule XIX, § 26
The Office of Disciplinary Counsel is directed to institute appropriate disciplinary proceedings pursuant to Supreme Court Rule XIX, § 11.
/s/ Chet D. Traylor Justice, Supreme Court of Louisiana
JOHNSON, J. not on panel.
